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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                   :

                 -against-                                 :        19 CR 931 (WHP)

Lywan Reed,                                                :        ORDER

                                    Defendant.              :
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WILLIAM H. PAULEY III, United States District Judge:

                 Upon the application of defendant, Lywan Reed’s surrender date is extended so

that he can obtain a medical procedure. In order to facilitate the medical procedure prior to

surrender, Reed shall report to Pretrial Services to have his location monitoring equipment

removed. As soon as the medical procedure is concluded, Reed shall return to Pretrial Services

to have the location monitoring equipment reinstalled. Reed shall surrender by 11:00 a.m. on

November 4, 2020 to the custody of the United States Marshal Service at the U.S. Courthouse at

500 Pearl Street, New York, 10007. On November 4, 2020, prior to surrendering, Reed shall

report to Pretrial Services for removal of his location monitoring equipment.

Dated: October 27, 2020
       New York, New York
